AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT

for the
Eastern District of New York

United States of America )
Vv, ) Case No. 24-cr-00270-LDH-JRC-1
Jontay Porter
Defendant )
WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.

Date: 7/19/24] f— L—

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Signatuye of defendant € attorney

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free’ signature

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Judge's printed name and title
